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                               UNITED STATES DISTRICT COURT

                          NORTHERN DISTRICT OF CALIFORNIA


   IN RE: ROUNDUP PRODUCTS                         MDL No. 2741
   LIABILITY LITIGATION
                                                   Case No. 16-md-02741-VC


   This document relates to:                       ORDER DENYING MOTION FOR
                                                   LEAVE TO FILE MOTION FOR
   Eduino N. Pinheiro v Monsanto Co.,              RECONSIDERATION
   Case No. 3:21-cv-00041-VC
                                                   Re: Dkt. No. 20449


       The motion for leave to file a motion for reconsideration in the above captioned case is

denied. Dr. Knopf’s failure to adequately consider Pinheiro’s exposure to other glyphosate-based

herbicides was sufficient to render the opinion excludable. Even if that were not enough on its

own, the Court would have excluded the opinion based on the combination of that issue and Dr.

Knopf’s failure to adequately consider obesity, as well as the overall sloppiness of the opinion.

       IT IS SO ORDERED.

Dated: May 22, 2025
                                              ______________________________________
                                              VINCE CHHABRIA
                                              United States District Judge
